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                           IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF
v.                                    NO. 4:11CR00209-35 JM
CHESTER THORTON                                                                    DEFENDANT
                                            ORDER

       Court convened on Thursday, July 9, 2015, for a hearing on the government’s motion to

revoke the supervised release of defendant Chester Thornton. Document #1023. Assistant

United States Attorney Julie Peters was present for the government. The defendant appeared in

person and with his attorney, Assistant Federal Public Defender Lisa Peters.

       Following witness testimony, and statements from counsel and the defendant, the Court

determined the motion to revoke should be held in abeyance for a period of ninety (90) days to

allow defendant the opportunity to demonstrate that he could comply with the conditions of

supervision previously imposed by the Court.

       IT IS THEREFORE ORDERED that defendant Chester Thorton’s current conditions of

supervised release remain in full force and effect as previously imposed.

       IT IS FURTHER ORDERED that the United States Probation Office is directed to

provide the Court with a written report reflecting whether or not defendant has been in

compliance with the conditions of supervised release previously imposed by Tuesday, October

13, 2015.

       IT IS SO ORDERED this 10th day of July, 2015.



                                                     JAMES M. MOODY JR.
                                                     UNITED STATES DISTRICT JUDGE
